Case 3:16-cv-00519-HES-JBT Document 37 Filed 04/04/17 Page 1 of 2 PageID 510



                          UNITED STATES DISTRICT COURT
                           MIDDLE DISTRICT OF FLORIDA
                              JACKSONVILLE DIVISION
MELONIE BRATCHER,
             Plaintiff,
v.                                                 CASE NO. 3:16-cv-519-J-20JBT
NAVIENT SOLUTIONS, INC.,
          Defendant.
________________________________/

                                      ORDER

      THIS CAUSE is before the Court on Defendant’s Response to Order to Show

Cause (“Response”) (Doc. 30). The Court previously granted Plaintiff’s Motion to

Compel (Doc. 13) and ordered Defendant to show cause why it and/or its attorney

should not be ordered to pay Plaintiff’s reasonable expenses incurred in making the

Motion pursuant to Federal Rule of Civil Procedure 37(a)(5). (Doc. 18.)

      Upon review of the Response, the Court is satisfied that Defendant’s position

was substantially justified. See Fed. R. Civ. P. 37(a)(5)(A)(ii). Therefore, expenses

will not be awarded.

      Accordingly, it is ORDERED:

      The Order to Show Cause (Doc. 18) is DISCHARGED.

      DONE AND ORDERED at Jacksonville, Florida, on April 4, 2017.
Case 3:16-cv-00519-HES-JBT Document 37 Filed 04/04/17 Page 2 of 2 PageID 511



Copies to:

Counsel of Record




                                     2
